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 7

 8                                        UNITED STATES DISTRICT COURT
 9                                        EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA                          Case No. 2:13-cr-00272-KJM
12              Plaintiff,
13                                                     STIPULATION AND ORDER TO
             vs.                                       TRANSFER CASH BAIL DEPOSITED WITH
14
                                                       THE COURT TO SATISFY THE BALANCE
15                                                     DUE ON THE RESTITUTION ORDER
     SAFIA AHMED,                                      ISSUED BY THE COURT
16

17           Defendants.

18                    IT IS HEREBY STIPULATED, by and between Assistant United States Attorney
19    Michele Beckwith, counsel for the plaintiff United States of America, and Defendant Safia
20    Ahmed by and through her attorney Donald H. Heller that:
21           1.       The defendant Safia Ahmed wishes to satisfy her outstanding balance owed by Ms.
22   Ahmed on the restitution order announced in open court by the Hon. Kimberly J. Mueller on
23   March 30, 2016 and entered by a stipulated order filed March 31, 2016 in the sum of
24   $132,500.00. [Doc. 138].
25           2.       On March 30, 2016, the Defendant paid to the Clerk of the United States District
26   Court of for the Eastern District of California the sum of $32,500.00 in partial satisfaction of her
27   outstanding restitution amount. [Receipt Number: CAE200073194- Exhibit A].
28   Stipulation and Proposed Order Re: To         1
     Transfer Cash Bail Deposited, etc.
     Order

     TO TRANSFER CASH BAIL DEPOSITED
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 1          3.      On September 3, 2013, Rahma Asiedu posted bond in the sum of $100,000.00.
 2   Receipt # CAE200054911. [See, Docket Entry no document of September 3, 2013].
 3          4.      Attached as Exhibit B, is a declaration of Rahma Asiedu executed under the
 4   penalty of perjury consenting to the use of the entire sum of $100,000.00, to be used to satisfy the
 5   restitution order. Ms. Asiedu requests that any interest earned by returned to her. [Exhibit B].
 6          5.      The parties agree that the court exonerate all of the bail conditions impose based
 7   on the sentencing of the defendant on March 30, 2016.
 8          6.      It is hereby agreed that based on the above averments that the Clerk of the Eastern
 9   District of California, be ordered to apply the sum of $100,000.00 previously deposited with the
10   Court on September 3, 2013, and that any interest earned by forwarded to Rahma Asiedu by the
11   Clerk of the Court to the address provided on an executed IRS Form W-9 completed by Ms.
12   Asiedu for tax reporting purposes.
13

14   Dated: April 13, 2016
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                                                   BENJAMIN B. WAGNER
                                                   United States Attorney
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17
                                                   /s/ Michele Beckwith
18                                                 Michele Beckwith
19                                                 Assistant U.S. Attorney

20                                                 /s/ Donald H. Heller
21                                                 Attorney for Defendant
                                                   Safia Ahmed
22

23
                                                   ORDER
24
            Based upon the representation by counsel and the stipulation of the parties,
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26   IT IS HEREBY ORDERED that:

27          1.      Bail conditions including but not limited to the cash bond of $100,000.00, previous

28   deposited in this case by Rahma Asiedu on September 3, 2013, is exonerated.
                                                   2
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 1          2.      That the Clerk of this Court is hereby ordered to use $100,000.00 of said cash bond
 2   deposit to satisfy the balance of $100,000.00 owed by Safia Ahmed to fully satisfy her restitution
 3
     order previously imposed.
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            3.      That any interest, if any, accrued on said $100,000.00 cash bond any interest earned
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     by forwarded to Rahma Asiedu by the Clerk of the Court at the address provided on an executed
 6

 7   IRS Form W-9 completed by Ms. Asiedu for tax reporting purposes.

 8          IT IS SO ORDERED.

 9   Dated: April 19, 2016
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                                                 UNITED STATES DISTRICT JUDGE
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